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 6                               UNITED STATES DISTRICT COURT
 7                             SOUTHERN DISTRICT OF CALIFORNIA
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 9    BEQA LAGOON SUPPORT SERVICES,                           Case No.: 18cv2478 JAH (BGS)
10                                           Plaintiff,
                                                              ORDER:
11    v.
                                                              (1) CONVERTING MANDATORY
12    MAKSYM GERBUT and JULIA
                                                              SETTLEMENT CONFERENCE TO
      GERBUT,
13                                                            VIDEO CONFERENCE; AND
                                          Defendants.
14
                                                              (2) ISSUING UPDATED
15                                                            PROCEDURES
16
              The Court hereby CONVERTS the Mandatory Settlement Conference set for
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     August 17, 2020 at 1:30 PM to video conference. To facilitate this modification, IT IS
18
     HEREBY ORDERED:
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           1. The Court will use its official Zoom video conferencing account to hold the MSC.
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         IF YOU ARE UNFAMILIAR WITH ZOOM: Zoom is available on computers
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         through a download on the Zoom website (https://zoom.us/meetings) or on mobile
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         devices through the installation of a free app.1 Joining a Zoom conference does not
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         require creating a Zoom account, but it does require downloading the .exe file (if using a
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         computer) or the app (if using a mobile device). Participants are encouraged to create an
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       If possible, participants are encouraged to use laptops or desktop computers for the video conference,
     rather than mobile devices.
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 1       account, install Zoom and familiarize themselves with Zoom in advance of the
 2       conference.2 There is a cost-free option for creating a Zoom account.
 3         2. Prior to the start of the conference, the Court will email counsel for each party an
 4       invitation to join a Zoom video conference that they must provide to participating
 5       client(s). The Court will send the invitation to the email addresses listed for counsel in
 6       the case docket. If counsel does not receive an invitation to join the Zoom video
 7       conference by August 14, 2020, please email chambers at
 8       efile_skomal@casd.uscourts.gov. Again, if possible, participants are encouraged to
 9       use laptops or desktop computers for the video conference, as mobile devices often offer
10       inferior performance. Participants shall join the video conference by following the
11       ZoomGov Meeting hyperlink in the invitation. Participants who do not have Zoom
12       already installed on their device when they click on the ZoomGov Meeting
13       hyperlink will be prompted to download and install Zoom before proceeding.
14       Zoom may then prompt participants to enter the password included in the invitation. 3
15       All participants will be placed in a waiting room until the conference begins.
16         3. Each participant should plan to join the Zoom video conference at least five
17       minutes before the start of the conference to ensure that it begins promptly at 1:30 PM.
18       The Zoom e-mail invitation may indicate an earlier start time, but the conference
19       will begin at the Court-scheduled time.
20        4. Zoom’s functionalities will allow the Court to conduct the MSC as it ordinarily
21       would conduct an in-person MSC. The Court may divide participants into separate,
22       confidential sessions, which Zoom calls Breakout Rooms. 4 In a Breakout Room, the
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25    For help getting started with Zoom, visit: https://support.zoom.us/hc/en-us/categories/200101697-
     Getting-Started.
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       A Meeting ID will also be included and may be used along with the password to access the conference
27   if necessary.
     4
       For more information on what to expect when participating in a Zoom Breakout Room, visit:
28   https://support.zoom.us/hc/en-us/articles/115005769646

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 1    Court will be able to communicate with participants from a single party in confidence.
 2    Breakout Rooms will also allow parties and counsel to communicate confidentially
 3    without the Court.
 4      5. All participants shall display the same level of professionalism during the MSC
 5    and be prepared to devote their full attention to the MSC as if they were attending in
 6    person, i.e., cannot be driving while speaking to the Court. Because Zoom may quickly
 7    deplete the battery of a participant’s device, each participant should ensure that their
 8    device is plugged in or that a charging cable is readily available during the video
 9    conference.
10         IT IS SO ORDERED.
11   Dated: August 3, 2020
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